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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
SAAD M. MITCHELL SR..,
Plaintiff,
No. 25cv445 (EP) (LDW)
Vv.
OPINION
NATALIE SHARPE,
Defendant.
PADIN, District Judge.

This matter comes before the Court sua sponte for screening of the Amended Complaint,
D.E. 7 (‘Amended Complaint” or “Am. Compl.”), pursuant to 28 U.S.C. § 1915(e)(2)(B). For the
following reasons, the Court will DISMISS the Amended Complaint without prejudice and allow
pro se Plaintiff Saad M. Mitchell Sr. another opportunity to file a second amended complaint
within 45 days to cure the deficiencies identified herein.
I. BACKGROUND

Plaintiff filed a complaint alleging that someone working in the maintenance department
of former defendant Newark Housing Authority opened the door of his house and allowed police
inside without a warrant and, presumably, without Plaintiff's consent. D.E. 1 (“Complaint”) at 2-
3. Plaintiff also sought to proceed in forma pauperis (“IFP”). D.E. 1-2 (“IFP Application”).

The Court granted Plaintiffs IFP Application and screened the Complaint pursuant to 28
U.S.C. § 1915(e)(2)(B). D.E. 4 (“Opinion”). Although the Complaint was unclear as to the claim
being asserted, the Court construed the Complaint as attempting to assert a claim against Newark
Housing Authority for violating Plaintiff's right to be free from unreasonable search under the

Fourth Amendment of the United States Constitution pursuant to 42 U.S.C. § 1983. Jd at 3. The
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Court explained that the Newark Housing Authority as a municipal corporation “cannot be liable
under Section 1983 based merely on the actions of its employees—it must itself cause the
constitutional violation at issue.” Jd. at 4 (emphasis in original). The Court further explained that
“i]t is only when the execution of the government’s policy or custom . . . inflicts the injury that
the [municipal corporation] may be held liable under § 1983.” Jd. (quoting City of Canton, Ohio
v. Harris, 489 U.S. 378, 385 (1989)).

The Court noted that, on February 5, 2025, while the Complaint was pending screening,
Plaintiff filed a document indicating that he would like to add “Natalie Sharpe” as a defendant and
informed Plaintiff that he would need to amend his complaint to do so. Jd. The Court wrote that
“Plaintiff must include the full name of each defendant in his amended complaint and explain their
involvement in the allegations.” Id. at 5 (emphasis added). The Court granted Plaintiff 45 days to
do so. Id.

On March 26, 2025, Plaintiff filed an Amended Complaint replacing Newark Housing
Authority with Natalie Sharpe Defendant. Am. Compl. at 1. Plaintiff alleges that he and his ex-
girlfriend got into an argument in his house, the police were called, and the “maintenance team”
opened the door for the police without a warrant. Jd. at 2. The Amended Complaint does not
specify who Natalie Sharpe is or what her role in the alleged events was. Jd. Plaintiff claims the
alleged events resulted in him having “emotional stress,” “depression,” and “anxiety,” where he
“can’t sleep” and must “take medications.” Jd at 4. Plaintiff requests monetary damages as

compensation. Id.
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Il. LEGAL STANDARD

Under 28 U.S.C. § 1915, this Court may excuse a litigant from prepayment of fees when
the litigant “establish[es] that he is unable to pay the costs of his suit.” Walker v. People Express
Airlines, Inc., 886 F.2d 598, 601 (3d Cir. 1989).

When granting leave to proceed IFP, courts must examine whether the complaint is
frivolous, malicious, fails to state a claim upon which relief can be granted, or asserts a claim
against a defendant immune from monetary relief. See 28 U.S.C. § 1915(e)(2)(B)(i)-(iii).! A
complaint is frivolous under section 1915(e)(2)(B)(i) if it “lacks an arguable basis either in law or
fact,” Neitzke v. Williams, 490 U.S. 319, 325(1989), and is legally baseless if it is “based on an
indisputably meritless legal theory.” Deutsch v. United States, 67 F.3d 1080, 1085 (3d Cir. 1995).

Complaints may also be dismissed where they fail to state a claim, a standard identical to
the one utilized for motions to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). See
Tourscher v. McCullough, 184 F.3d 236, 240 (3d Cir. 1999) (applying Rule 12(b)(6) standard to
dismissal for failure to state claim under section 1915(e)(2)(B)). To survive dismissal, “a
complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
plausible on its face.’” Ashcroft v. Igbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 570 (2007)). The plaintiffs factual allegations “must be enough to raise

a right to relief above the speculative level.” Twombly, 550 U.S. at 556 (citation omitted).

! The Court’s preliminary review pursuant to 28 U.S.C. § 1915 does not determine whether the
allegations in the Amended Complaint would survive a properly supported motion to dismiss filed
by Defendant after service. See Richardson v. Cascade Skating Rink, No. 19-8935, 2020 WL
7383188, at *2 (D.N.J. Dec. 16, 2020) (“[T]his Court recognizes [a] § 1915(e) screening
determination is a preliminary and interlocutory holding, subject to revision at any time prior to
entry of final judgment.”) (internal quotation marks omitted).

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A pro se plaintiff's complaint must be liberally construed. See Shorter v. United States,
12 F.4th 366, 374 (3d Cir. 2021). Additionally, when construing a pro se plaintiff's complaint,
the court will “apply the relevant legal principle even when the complaint has failed to name it.”
Vogt v. Weitzel, 8 F.4th 182, 185 (3d Cir. 2021). However, pro se litigants “cannot flout procedural
rules—they must abide by the same rules that apply to all other litigants.” Jd.

Ill. ANALYSIS

As it did with the original Complaint, the Court construes the Amended Complaint as
attempting to assert a claim against Newark Housing Authority for violating Plaintiff's right to be
free from unreasonable search under the Fourth Amendment of the United States Constitution
pursuant to 42 U.S.C. § 1983. However, the Amended Complaint still fails to state a claim and
the Court will therefore DISMISS it without prejudice.

Plaintiffs Amended Complaint is largely consistent with his original Complaint.
However, in the Amended Complaint, he (a) clarifies that the reason the police came to his house
was because he was having an argument with his girlfriend and (b) replaces the previous defendant,
Newark Housing Authority, with a new defendant, Natalie Sharpe. Am. Compl.

Despite the Court’s previous instruction to explain the individual Defendant’s involvement
in the allegations, Opinion at 5, the Amended Complaint does not explain who Natalie Sharpe is
or what her involvement in the alleged events are. For example, it is not clear if Natalie Sharpe
was a police officer who entered Plaintiff's apartment, a member of the maintenance team who
opened the door, Plaintiff’s girlfriend with whom he was arguing, or someone with some other
unspecified involvement. This defect is fatal to the survival of Plaintiff’s Section 1983 claim as
pled in the Amended Complaint. See Chavarriaga v. New Jersey Dep’t of Corr., 806 F.3d 210,

222 (3d Cir. 2015) (“[A] plaintiff must demonstrate a defendant’s ‘personal involvement in the
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alleged wrongs.’”) (quoting Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988)). Because
Plaintiff does not describe Natalie Sharpe’s personal involvement in the alleged wrongs, Plaintiffs
Amended Complaint fails to state a claim.
IV. CONCLUSION

For the foregoing reasons, the Court will DISMISS the Amended Complaint without
prejudice pursuant to § 1915(e)(2)(B). Plaintiff may file a proposed second amended complaint
within 45 days of the Order accompanying this Opinion that cures the deficiencies identified

herein—namely to explain who Natalie Sharpe is and her involvement with the alleged wrongs.

Dated: May 21, 2025 So she Vodbuo

Evelyn Padin, U.S.D.J.

